 

‘wales S S Aq pamo aiam jeu} saxe} Aadosd yuanbuyop
pzemo} juaWwAed Se e011 Ssainsealy, AJUNOD audeag au; AG

panjaoai SBM GQ LZ9‘L$ JO WINS BU) “EQOZ/EL/ZO UO JEU) BONON |

“wajes aiuqos sem soAedxe] ‘Q/°L LZ

OW 0} JUeNSund asnsoj9aJ04 jo JUaWUBpnI e Jo Aqua Jaye sAep
LZ UIYM palusape! jou J Jasnseasy AjUNOD auAeAA BU} JO BWeU
@y} Ul pay) UES pjnom Apadoud pies yey) pue sexe} Apadosd
Jo juawAed-u0U J0j Boo Sainsealy AJUNOD aUAeAA BU}

0} payepioy sem Apiodoud jea1 auy ‘E007Z/1L0/E0 UO JEU] UOHEOYON

 

‘wales aiygos sem jahedxel ‘YQ/° LZ

OW 2°} JUeNsund ainsoj9aJ0) Jo yuaUBpn! e yo Ajus saye sAep
LZ UY PaWaapal jou JI Jainseai, AyUNOD auAejA ay} Jo aWeU
au) Ul payy Ulead pjnom Ayadoid pies yeu; pue sexe} Apadoud
jo yuawAed-uou 104 Bd1yO SJeunseaiy AyuNOD auAeAA au}

0} payapioy sem Ayadoud [e941 By) ‘Z00Z/L0/E0 UO JEU UONEDYNON | |

“ayiM SIY “|Ugar Yaqnog pue |uger esny

__9} Ueo] 88'006'LZ$ & pajueJ6 seoleg JeloueUI4 edVeWesUel |

JOJSUB] JdWaXxs xe L

 

88'006'LZ$

“ueBiyoiyy

‘woqiead ‘}aa4S
Jawled LEQy JO ‘ayn;
sly ‘ugar Yyayqnos |
pue (\uger esny
vy) luger “vy esny)

ang ‘palg auepleg
| JO SADdIAJaS jeloueU |

 

 

 

00'1$

i00°000'S 1

ueblyaiy ‘wioqieag
‘anuaay Jawled

LE9p JO UBWIOM ajBuls
@ ‘wales ples aiygos

ayn SIy ‘Wger yalyqns
pue |iger "y Bsn,

 

 

sajon Apadosg jeuoNppy

 

uoljeiapisuog

 

JIM SIy ‘ugar yalyqng
pue jugar "y esnw

ueBlyow ‘woqiesq:
‘alABsy pez JO ‘ayIm,
siy ‘UOIS ‘fT YaIPEH
pue UdIS ‘y paweYyoY(

 

aaAng

 

 

 

 

 

uebiyoiw
uondwapeay ‘ujoqueaq
— sO: DEOMI /EOOZ/IL/P | POOZ/OL/P ‘aesoy /G6r
Ayadosd jeay ueiBysiw
Jo ainyeapoy ‘uioqueaq
| 40 ayeOyIHED eO0d/Sliv ‘allesoy ZG6P|
Ayadoig |eay ueBiysiw
Jo aunyiapog ‘woqieaq
JO QEMED!ZOOeSI/y | ZOOZ/SI/y _—|_“All@SON /G6b
uebiyoiyy
‘woqieegd ‘GL LL
ueblyoiyy
‘woqueag
eoowesues, —-_« @HeHYOWLE61/Z/2 | LEGL/9Z/O. —_—i|“oleSOW LG6P
uebiysiy
pseq ‘woqiesq
ar 'VesSnW, —_ WHRID UND 2661 /2/0l_ -ZEGL/9/OL _—| “BHPSOY ZG6P|
uebiyoiWy
‘woqieag
J paweyow |/pes0q Aueuen 6L6L/ bbb |6Z6L/6/L1 ‘aulesoy £S6b
ad& 1 ajeq ayeqg ssaippy
J9419S juauinseq Bulpso294y jyuewns0q Ayedoid

 

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Case 2

uebiyoipw ‘usoqueag ‘aijesoy JS6P

 

 

 
 

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Case 2

 

‘(wZ2)Z86 UOHDIS “O'S BL JapuUN jUNOD aiNjlayio}
__[eulwia @ Jo yoolqns au} sem Ayadoud Jed) dy] yey} UOI}EOYNON

 

“@OIAIaS Xe jeuOVeN Ayjepi4 Aq apew sem yuowAed

Ayadoid yuanbuyap psemoy yuawAed se a01yO S,ainseasy AjUNOD
audena ayy Aq paniaoai SEM GQ'P/b'S$ JO WNS BU} ‘€00Z/90/Z0 UO

 

“wajes aluqos sem Jahedxey

YASLLEZ TOW 0} JUensund aunsoj99103 jo yUaWBpn e yo Aqua
Jaye sAep 1Z uly pewaapal jou J saunseasy AjUNOD aUAeAA OU}
JO oweU OU) Ul Pay UleWas pjnom Ayiadoud ples yeu} pue sexe}
Ayiadoid Jo yuausAed-uou 10) aoyjO SJounseal) AjunoD audeny du}
0} payapioy sem Apadoud jeas au) ‘Z00Z/L0/E0 UO yey) UONeoyHON

 

Jaysues} }dwexy Xe}

“‘ulassnuyy ayelinpgy 0}

ples eu} pajou aq pinoys 3] “wales s s Aq pamo alam Jey) SOxe}

“ ue0} 00°00S'Z9$ 2 pajues§ Auedwod abebyoy yoeag Buo7 ay |00°00S'29$

00°1$

 

 

|00°000'S2$

 

 

 

 

 

 

 

 

Saj0N Apadoig jeuontppy

uonesapisuo5

 

 

 

 

 

 

 

: ueBiysiw

‘woqieag ‘avy

oe oe Suapued SITIEOOZ/Z/OL |€00Z/62/6 sawed ZOLF

uebiysIW

uondwapey ‘woqueaq ‘aay

oo _ | ___ | sO HESIOD COOT/IL/b — |COOT/IL/P JaW[ed ZOLb

Ayadoid jeay ueBlusiw

JO oun}apioy ‘uoqueaq ‘sAVv

a. co _ JO HOYIWED ZOOT/SLp _|e00e/Sih | JwIed ZOLP
ueBiysiW

“ueBIyoIW ‘woquesq' ‘s}uBlayH woqiesd ‘6EZ uebiysiw

‘ayesoy JG6y) XOG ‘O'd jo ajeW aj6uls pseq ‘woqueag ‘aay

jo wales ples alyqog) = 2B ‘ulassnyly anelinpqy, =» WIEID. INDO |6661/02/8 A661 /S7/S sowed Z0LP

ueblyoin

‘Woyaq ‘Jeans isne4; WoO ‘euy eyes ‘OGrLL ueBlysiw

6Z19 Jo ajew aj6uls|} + x0g ‘O'g Jo Auedwog ‘woqieaq ‘aay

2 ‘ulessnyly anelnpay, ebebyow yoeeg 6u0]) ——_ aBeByoy)g661/22/2 | A66L/L€/01 Joulled COLV

ueBlusiw ueBiysi)

‘wioqueag ‘awed /E9p) BHM siy ‘UOWWeH ayjion] ‘woqieag ‘sav

jouressnyly eyelnpqy! =» pu uOWWe} ploey|paeq AjueUeAAISEGL/ZI/E LE6L/IE/OL =| sawed ZOLP

adAL a7eg ayeq ssaippy

saAng 13119S yusuinsog, Burpiosay jyuswins0qg Ayiadoid

 

ueBiysiw ‘uoqueag ‘aay 49Wed ZOZP

 

 
 

 

 

 

 

 

 

 

“wajes
alyqos sem saAedxe}) oy “BZ }Z TOW 0} Juensind
@insoj9910} Jo yuawBpni e jo Aqua saye sAep -Z UIWIM
paweepa jou J Jaunseai) AjuNOD auAeAA OU} JO QWEU OU} ueBlusiw
Ul pay urea) pynom Apadoid pies yeuy pue sexe} Apedoid Aysadoig jeay ‘woqieaq
jo juawAed uou 10) 891 S,jaunseas) AyuNOD auAena Jo ainyieapo4 ‘anusay
SU} 0} Payayo} sem Ayadoud au) ‘Z00Z/L0/E0 UO Jeu) BDHON ee _ JO BJEIYIHSD |ZOO0S/S L/P COOz/SI/y| PIIESCY 606P}
uebiyoy ‘woqieseq ueBiyoiwy
‘ueBIyoIW ‘Uioqieag ‘anuaay Jaw|ed ‘wioqiesq
. ‘anuaay ayesoy 2€9p JO ueWIOM ajBuls pseq ‘anuaay
oo days IduvEXe XeL001$ | 606 JO ‘IGer AYoRIEW) © ‘WeleS ples eUGOS] __WIPID UND 'BEL/OL/6_| __ C6BLIBZ/L_ SUeSOH GOGH
ueBiyoiw ‘woqiesq ueBiysiW
‘aAY alleSOy JG6r JO ‘woqieaq
“OM sly ‘gat Yalyqnos peeq ‘anuaay
Jaysuey }dWaXxe xe 1:00 L$ pue jugar ‘y esny ID WD ZEGL/Z/O CE6L/9/Ol| SieSOY 6O6h
oe oa re ~ ~ oy oye ee TT HOTS
“Ayadoid ayy wos paaouas uarq ‘anuaay

Bulag sem ual] PaUOUAL BAOge AU} JEU] UOEOYNON

|___Buleg sem ual F 12 woes oe Jo aBeusig €861/9/9 _____—«EB6L/OZ/9| _alleSOU OGY

 

 

 

 

 

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Case 2

 

 

 

 

 

|
“woqueag jo Ay au) Aq Wau 0} popseme sem yeu) jueIB uebiyoly
UOHEWIGeYaJ B JO Sua} aU) Aq apige Oo} pallEy ugar YaIygns | ‘woqieeq
pue jugar esny yeu} J9e} ay} 0} anp Apadod au) ysulebe i ‘anuaay
ysas9}U! JO WIeIO @ padeid ueblyop| ‘Woqieaq JoAWD OyL) oo fe ef TGRELBe/L SLB Leb SIPSOe 606P
UEDIYSIW
UOHBJapisudd| “OylM | ‘woquesg
aigentea| siy ‘ger yaluqnos | ayIM siy “UNOwWAeH aIGeW ! ‘anusAy
_ seyjo pue OO'L$ PUB |GET Ww ESN pue iNoWAeH “y Aygnog|paeg AjueHeM ZO6L/Z/1 1 2961/81/01, aHeSoy 6O6b
| | adAy ajeg ajeg ssaippy
SajON Apedosg jeuolippy uonRJapisuog| JaAng| 1119S juawns0g| Burpiosey quawin20g Ayedoid

 

 

ueBiyoip ‘uioqseag ‘anusdAy alj/esoy 606

 

 

 
 

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“wales
aiuqos sem JaAedxe} aUL “482° 142 TOW O} Juensind
aunsoj9aJ0} Jo yuaWBHpni e jo Ajua Jaye sAep 1Z Uy
peweaspea jou JI Jaunseas) Ajunog suAeAA ou] Jo aWeU OU}
ul pafyy ulewas pinom Ayadod pies yeu} pue sexe} Ayadoid :
Jo yuauiAed uoU JO} Bd1yO Sainseaiy AjuNOD audepy !

SU} 0} poyeyioy sem Ayradoid ayy ‘EO0Z/LO/E0 UO Jey) BION

 

 

 

Ayadolg jeey

jo aunpayio4
$0 BIESNIU9D |COO/S L/P

 

COIS I/F

 

ueBlyoIW
‘woqieeq
‘anuaay
ailesoy 6067

 

uebiysip ‘usoqieag ‘anuaay ayesoy 606P

 

 
 

 

“wales S Ss sem JoAedxe} SUL “4QZ°LLZ TOW 0) JUeNsind ainsoj9eJ0}

 

 

 

 

 

 

  

 

 

 

 

 

 

 

jo juawBpnf e yo Ayjua saye sAep 1Z uly} Pawaapel jou j! Jaunseal! ueBiysiyw

AyunoD aude au} JO ewWeU ay} Ul pay} Urea. pjnom Apedoud pres : Ayedoig jeay Jioned

yeu) pue saxe} Ayadoid jo yuawAed-uou 40} ao Syainseasy AJUNOD JO ainyapo4 *‘SJOUDINOW

aukeM a4} 0} payejo) sem Apadoud euy *€0/1.0/E0 UO JEL) SOON _ Woke. _...}_ 40 SIPSUIHEDE00e/St/p _fe0OW~St/y | A CONS
‘wales SS sem JoAedxe] BYE “Y8/LLZ TOW 0} Juensund ainsojoaJ0} :

jo juawBpnf e jo Aqua ueye sAep 1z uluyIM palusepal jou J Jaunseady ueBiyoiy

Ayunog audea, ayy Jo SweU ay} UF pan UleLas pynom Apadod pres Apadolg jeoy ‘jlo98q

yey} pue saxe} Apadoid jo yuawAed-uou JO} BIO Sjaunsealy AjUNOD JO ainjiayioy "SJOYSINOW

____BuAeM OU) 0} payayioy sem Ayadoid au} '20/L0/E0 UO JEU) SOON _ coe ee auf, $0 HEOMMMSD 2OOR/S L/P [ZOOe/SHP | ZOLS!

ueBiyaiy)

ueBlyaty ‘usoqueaq uebiyoipy ‘wioqueaq 0aQ

‘SHESOYN GOGP JO UOsiad ‘awed LE9r pesq *SJOYSINOW

__ jojsuen yduvexe xeL 00S | aIBurs.e ‘ugar Ayeley jo ulsesnuly ane|NPqY, —WIRIQ UND SEBL/SL/S _|Z661/S2/S_ | A ZOLS

IySAg}eyW SOI) uebBiyusiw

uebiysiyy ‘0138q | pueqsny pesessap 1384: Jloyaq

‘SIOUDINOW “A ZOFS JO) pue JJessey Jo JOAIAING| ‘SjOUSINOW

co OO'00E S$ «OSI assiuiy BHEINPGY| —_“PISAOJEW Exued peg AueVeM I6GL/EL/LL |966L/27/6 | A ZONS|

adAy ajeq ajyeQ ssaippy

sajon Apadoig jeuonippy; uoesapisuo| sahng 49]]9S! jusuinc0qg| Buipsozay yusuinsog Apadosd

 

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Case 2

ueBiyoiw ‘10439q ‘S|OYSINIW “3 ZOLS

 

 
 

 

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Case 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

uebiyoiy
‘(w)(z(2)Z86 UONDag “O°S'N 8} 4epuN suapudd ‘youeq
JUNO aINYEHO} jBUlWD e jo JOS{qns ayy sem Ayedoid ay] yeY] SION SI] JO B9HON| E€00Z/Z/0L| €002/67Z/6| ‘PsOJUeS OOOTZL
oe 0 ‘wales § gs sem : a OE ON
sakedxe] 9ul “482° LLZ TOW 0} JUeNSuNd ainsoj9aJ0j jo yuUaWBpnl
e jo Ajjua saye sAep 1z UILIM Pawespal jou f JaINseasy AjuNOD
aude, aj JO aweU au} Ul pay UleLWa pjnom Apedoid ples yeu} Ayadold jeay ueBlysiw
pue saxe} Apadoid yo yuawAed-uou 10} ad14yjO sJoinseaiy AjUNOD Jo aun}apo4 ‘}101)9g
___ auAena ay) 0} payaLo- sem Ayadoud aut 'CO/L/E UO JEU) SOON) | Se | FO BEOYIHOD) = EOO?/SL/F CO/S 1] ‘Psojues QOOTS
peeq ueBiyoiyy
ueBiyoiw jo a}e}S$ 94} 0} Apedosd ayy ul ysazazU! Je Pawrelo Jounsealy ‘ylo18Q
__7_unb sainsea, ayers ‘Keun vy Kew ‘6661/Z0/S0 FEU SONON| . oe SFIS) 0002/02/y)__ 6BBL/ZIS|"PuoyUeS OOOZE
‘{}amMog uo}GuLueg Aq ueBlysiw
ueBIYOIV JO 2}215 OY} 0} PaMo S18M JEU] go"ZLS'L BuLe}o} junowWe ual] XBL ‘yWoyeq
___ SU} UL Saxe} y9Eq 40 NE!| ul Aedoud ysulebe psoe|d ual] xe, eS] BG'ZLS'1 S$) co __.__. 1811S $0 B9NON)  SBGL/LE/B —_ SEGL/SL/8| 'PIOJUeS COOTL
yemMog uoyBueg uary: ueBiyoiw
Aq SUI 84} 0) pamo aJam yeu) OZ LSE'LZE$ Burejo) junowe xB] [etapa ‘yoo
24) Ur sexe} yoeq Jo nal ul Ayadosd ysuleGe paoeid very xe jerepe4} OL USES) _ | 49. 29RON) _966H/01/b)  9661/L2/¢) ‘PuoJUeS COOZE
“wales:
ples aiuqos o| ‘yamog uoyGuleg pue ‘eyng aouaime’] pue jaiueq ueblyoiy ‘woqieaq yoeUOD puey! ueBiyolyy
ugamjeqg pue Aq pajnoexa Sem jeu} JOBJ}UOD PUR] UIEY9S e Ul JSOJO4UT ‘anuaay Jawled /€9r. jo juawubissy | ‘101389
+~ SI P2ajSuey “UOHEJaPISUOD a/GeNjeA 10) aGUeYoXe ul jugar esnyy Jo ‘wajeg ples aiyqos lqer ‘y esny SJaseyoind! ZE6L/Z/OL| 7661/9/01 | ‘PuojueS QOOTL
yoeu0y pue}|
Jo juawubissy| IW ‘W00q
i |. 20'zst' bes lager vesnW) temo uoWBuyeg —SoseyDInd) —_L6GL/E/y|_ L66L/6Z/E, PucyeS 0O0ZL
adA 1! ajeg ajeg ssoippy
sSajON Ayiadoig jeuonippy| uoljesepisuod 4aAng J3112S: juswins0q | Bulpsovey| jyUsUINI0G Ayedoig
ueBiysiw ‘j10138q ‘psojues 000TZL

 

 
 

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Case 2

 

“(w(z)(2)z86 UoNdag “D°S'/N BI JepUN jUNOD aiN}ay10}
jeulud eB Jo yalqns au} sem Apadoid jel ay} JEU) BOON

 

 

“wales S$ ¢ sem JaAedxe} ay] “ABZ LEZ TOW 0} JUeNsund
diNsoj9aJ0} Jo uaWBpnf e jo Aqua saye sAep LZ UIUM
paweapal jou jI Jaunseasy AjUNOD suAeAA OU} JO WEL aU}
Ul pany Ulewe pinom Ayaedoid pres yeu) pue ‘sexey Apadoid
jo yuawAed-uoU JO} ado S,Jeinsealy AUNOD aude AA

24} 01 pariaLio} sem Apadosd eu “£002/L0/E0 UO JEU) 2210N

“uBBiysiyy jO a1) ay} 0} Aadoud!

BU} Ul }SJOJUT |/E PSUNE;D yNb Aen) yey) UOeoyNOU vi

Jaysuedy yduexe xeL

 

 

uebiyaiw jo a2}

uebiyoryy

ZE9P Jo UeWOM albus

 

 

sa}0Nn Apadoig jeuonippy

‘woqueag ‘aAy JaWed'

00'L$| © ‘Wales ples aludos|
ueBiyoiyy ‘wioqseeg

‘aay JOWed LE9P JO

‘ay SiY “ger Yalygns

_00°000'8$/ ue lugar "y esnW

ueBiysiyy

JO DJEYS Bu} 10) Jainseai | |
—_8eag - AeunW “y UeW,
: “ueBIYOI)
‘woqieag ‘anusay aljesoy
2S6p JO ‘SJIM SiY “JUger
youyqng pue jugar vy esnyy

 

“ueBlusIW
‘poujeq ‘Jogeo Err JO ‘aM
siy Ainqgswoy, °9 Aouen
pue Ainqswioy. “ uewses4

 

 

 

 

 

uo}esapisuoy saAng

 

 

431J9S

 

 

 

suapuad: ueBiuoiyy '11039q

| SIIJOPSHON) E00Z/Z/OL; —_ €00z/Sz/6| ‘Sewer IS ASEr
Ayado.g jeay

Jo aunyayo4 uebiyaiyy ‘0.49q

_ Jo ayeaywed! E00~St/P, E007 "sewer IS LSEy
peaq:

sasnseas ueBiyoiyy ‘0eq

ss HEIS| — OOOR/LE/E| = BEE L/p/S| ‘sawer 4S LS€¢]

paaq uebiyaiw 310.490

WIEID UND, ZEGL/LL/LL| CBG L/G/OL| ‘sewer IS LSEb

| ueBiyoIW ‘W028

paeqd Aueuen. _— O66L/8Z/6 O66L/SZ/6| ‘Sewer ‘IS ZSeP

adA 1: a}eg aj}eg ssouppy

quawinsog Buips0;9y jyuswns0g Ayadoidg

 

uebiysiw ‘310139q ‘sewer jg JGtr

 

 
 

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Case 2

 

"waes]

S Ss Aq pamo alam yeu) Saxe} Aadoid puemoy yuawAed
$@ SOO Saiunseal, AjUNOD aUAeAA 94) Je Paatao—al
SEM OG'ZZS$ JO WINS AU) ‘EONZ/E1/ZO UO JEU} OINON

 

 

“wages SS

sem joAedxe} OU “YSZ LEZ TOW 0} Juensind ainsojoas0}
jo yuawBpnf e jo Anua saye sAep 1Z ulyyIM poweape
jou jl Jaunseauy AjUNOD auAeAA OuUj JO QWeU Bu} UL

pay urewas pjnom Ayadoid pies jeu} pue ‘saxe} Ayadosd
Jo juawiAed-uou J0j BDO sainseaz) AJUNOD BUAeAA
ay} 0} payajioy Sem Apadold au) ‘E0/L/E UO JEU} GION

‘wales SS

sem JoXedxe} aut “48/°L LZ TOW 0} JUeNSINd aiNnsojDaI0}
jo yuawBpni e jo Aua saye sAep 17 uly pawaapa

jou }| Jaunseaiy AyuNoD audepA ay} JO aueU Ou) Ul

poy) ulewas pjnom Apadosd pies ey} pue ‘soxe} Avadoid
jo yuawAed-uou 10) Bd1IYEO sainseasy AJUNOD aUAeAA
BY} 0} payayioy sem Apadoud ay} ‘Z0/1L/€ UO yeu} BORON

 

Jaysues} JduuaXxe xe |

ugar Yyeyanos pue jugar y esnyy 0} UeO|

00's

88°006'12$

 

88'006'12$ & pajues6 seoluag jeloueuls eoueWesUe! |

Sajon Apadoig jeuonippy

_|00°000'81$

 

i
1

1

 

uojeiapisuoD

LE9p JO UBLUOM a[Buis
2 WOIeS PIES aIUGOS

uondwapey
JO B}EIJNED |EO0T/9L/P

e00c/otiy

 

Ayadoig |20y
jo aunyeapyo4
$0 SJEOIHSD /COO?/SL/P

 

pe

uebiyoyy ‘woqieeq
‘anuaay JOW|ed

 

‘usoqueeg '}23.4S

JOWIEd LEQP JO “YIM

sly ‘ugar Yylaygnog:
pue jugar "y esnw.

|
"Sym SIY ‘gar Yaluqns;

 

pue [asf 'v eSn

 

Jakng!

uebiysiy ‘woqiesq
‘aNuaAy si|eSOY S67
Jo ‘ayim siy ‘ugar yalyqns

uebiyoiyy

‘woqueaq ‘S| aS ‘paid
aueped | jo saa~uas
jeloueuly edawesuel,

W Lg ‘uehauiney
“9 49er ‘yeAauney UIs|38H

_pue der “y esnWy)

 

S3|13S

Ayadoid jeay.
jo aunyepo 4: :
Jo a}eOyED ZOOZ/SH/Y _

peaq
_WIeID UR 'Z66L/Z/01

aBeByow LE6L/L/2

 

paag Ajuewen 6861/02/11

adA 1 a}eq
quawinseq, Bulpsozay

e002/SLIy

ueblyoiyy 108q
_ TYOIMENA GL8S

uebiyoiwy ‘10.n28q
‘YOINEM SLES

 

Zo0z/SHiv

Z66L/9/01

L661L/9¢/9

G86L/E/Lb

ajyeq

 

yuawnso0g

ueBlyoip) ‘10238Q
_ YOINURAA SEBS

 

uebiysiw ‘10439q
HOINURM SEBS]

ueGiysIW ‘oneq
__PINUEM S185!
ueBiyoip] ‘1101)8q

“JOMMURAA SLES

ssaippy

 

Apadoig

 

ueBiydiw ‘y10130q ‘YOIMIeAA ‘GL8S

 

 

 
 

 

 

|
i
|
|

“(w(Z)(2)Z86 UORDag ‘9'S'N BL JapUN yUNOD auNa}0}'
JeuIULO B Jo yOalqns au) sem Ayadold yeas au] yeu} VDI]ON:

 

 

 

suapued
SI] JO 991}0N

 

e€00¢/Z/0l

 

£00¢/62/6

uebiyoyy ‘10.38q
‘YOINUEM SL8S

 

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ueBiYoiW ‘310439q ‘HOMIE ‘SLBS

 

 
 

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T
“UONIPUOD AJBSUN S}! 0} anp|
} UO BINJONI}S JU} JO UOOWSp pesodoid Bupyebas

 

Ayadoid aujy uo ysaayul ue Say 018g Jo AND;
cee eee eee ee Tennent

 

‘UBBIYSIVY JO B}21S 0}
__Pauieysuen | Ayedosd ay) ul ys9s9,U! IIe Jey) BORON

saysuen Jduaxe x21 00'1$

 

 

sajon Ayradosg jeuolippy) uoyeiapisu0oy

 

 

 

 

 

 

 

| | (uontjowag
i | pasodoid) uebyay ‘Wo3eq
! _, , SUBPURd SITEEEL/ET/ZL [6661/08/38 | “H6IA PLAS
ueBIySIW paeq
| | JO SJE]S OU} s0J Jounseaiy | sainsealy uebiysiy ‘1098q
pp ___WeBIUOIN JO a1eIS. areis - Aeuny “y uEW IRIS 000Z/O2/P —_|BBG6L/P/S “HBA Lest
| "ueBIYsIW,
\ ‘uoqueag “Jawed| |
ZEQp Jo UBLOM aiBuls! aM sty ‘gar peeq uebiyoiw 10.390
i 2 ‘wages ples aiygos| yaiyqns pue [ugar “vy Bsn, WIE|D UND: Z66L/Z/0l —|Z66L/9/OL "W630 PLZSE
~ = “BILD ‘WOQIESQT 7 ~ ° : Oe
‘JaWIed LE9p 40 |
“OM Sty “ugar Hewans "eH sty ‘AYeQow 77 AeuD uebiyoiy ‘10939q
00°000'2$ _ ue lugar yesny) pur AyYeQow "y sewoys|peeq AjUeMeM O66I/PL/LL O66H/Z/LE | GMA pL ZSE]
| adAL ajeq ajyeq ssouppy
saAng: 491/28} yuawinsog! Bulpiosay jyuawns0qg Apadoid

 

ueBlyoiw ‘HO439q ‘541A PLZSL

 

 
 

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Case 2

 

‘warResSSss

sem JaAedxe} ay] 82° LZ TOW 0} JUeNsund aunsojsaI04
jo yuawB6pnl e jo Ayjua ue Jaye sAep 1 Zz UIyIM palusepal

jou }! Jounseasy AyuNOD auAeAA dy} JO BWeU dU] Ui

pay urewas pjnom Apedoid pies yey) pue saxe} Apedoid!

jo yUawAed-uou JOj ao1JO Syaunseasy AyUNOD aUAe AA aul
0} paylayioy sem Ayadoud au) 'Z00Z ‘} YOsSeW UO JEU) BOON |

 

 

neh

-‘uoypuog!
@J2SUN S}! 0} ANP }! UO aiNjon.js ay} JO UON!||OWAap pasodoid |
_ Burpiebas Ayadoud BY} UO }saJajUl Ue Saly

JOJSUes} jdwiaxa xe 1

_____ Fe4SUBN AWAX |

 

 

|
Sa}ON Apiodosg jeuonippy v/

 

00''$

_{00°00S"r$

uonelapisucy

 

 

1

 

 

 

 

‘uebiysip) ‘woquesg
‘ayesoy LS6r
jo wales ples aiygos

uebiyoyy
‘woqieaq awed
| der: JO jauiger ‘y ESN,

a sen pen

 

aaAng

 

 

 

 

 

 

 

Auadoisd jeoy
Jo aimjap0.4| uebiystW youeg
os __ 40 aIBIYINGD|Z00Z/S L/P 200Z/S Lit “NOJIA GLZGL
(uoROWaq|
pesodoig) ueBbiyoiy y0430Q
suapued St]: ZOOZ/BUZL LOOc/Le/8 “HOIA SLZSL
‘ueBiyoiy
‘woqieagq ‘awed
Z€9r JO UeW pawwew peeq| UeBIUOIN }ojeg
____ Beuger"vesny, —_ wieIn IND|BBBLIZH/E _|L66L/SZ/8
“ueBiyoiy)
‘PlayyINoS ‘Ja}SIWEQOW
€LSGz jo ayew ajburs | ueBiyoI 110339
_B epee "a Auey/peed AuevEM Z66L/SH/E [2661/59 | "NBA SLASH
adA 4| ajeq ajeg ssaippy
4a]]aS quawins0q) Bulpiosay juawins0g Ayedoid

 

ueBIYsIW ‘10439q “IHIIA GELS)

 

 
 

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Case 2

 

“(w)(ze)Ze6 UOND9g “O°S'N BL JapuN JuNod auNaLo}
_ [BUILD B Jo yoalqns ay) sem Ayadosd jeas au) JEU} SION

 

“wales aiyqos sem JaAedxe} SUL “48/112

JOW 0} JUeNsund aunsojoaJoj Jo uaWBpnf e jo Aqua seye
shep 1Z UiUuIM pawaapea, jou JI Jounseas | AyuNOD audepn
9y} JO BWeU 9} UL pap UIeWUd1 pjnom Apaedoud pies yeu}
pue saxe] jo juawAed uoU Jo} Jainseasy AjUNOD aUAeNA Buy
0} paylapioy sem Apedoid ay} ‘e007 ‘+ YOJEW UO }eU) SdION

_ daysuey ydwaxe xey

“UOHeJapISUCD
pooB pue 00'4$

196E] JO UOSUBA Bully

suapudad
SI] JO SOON

Ayadoig jeay
jo aunyiepoy

 

 

Jajsues} }dwaxs xe. 1

{

‘ou ‘abeGyOW SWL 0} pewejsueny:
sl ulassnuy ayelinpqy pue uojesodioy saalAsag jemueuly
- abysaid uaeamjaq paynoexa abebyow BU} Ul }S9J9}U}

“ulassnyly anelinpgy 0} ued] 00'006'2Z$
2 sjues6 uoyeiodJoD sadlAlag jeloueuly a6isjsalg

uonesapisucd
pooB pue 00'1$

paaiaoa anjea
40} aBueyoxe uj

Jo a]29yN8D
ueBIyoiy:
‘yloyaq ‘UMe|asSOY uebiyotyy ‘wioqieaq peeq
‘alesoy /G6p JO Wales ples a14goS wieID UND
“ueBi4yoIW
‘s}y6laH Wwoqieaq GEL XOg “O'd peeq
jo 9jew a[Buls e ‘ulassnury ane\npqy WIE|D WND

 

_ouj aBeBYOW SW.

epuoj4 ‘yseag uo}Aog
‘O9p ayINg ‘any ssaiBu0D YINOS 406} JO
uonesodiog saolases jeoueul abysald

 

“ueBiysIy)
‘wioqiesq ‘OWE LE9Or

epuo|4 ‘yoeeg uo}Aog
‘O9p ang ‘aay ssasBu0D UyNog LOGI Jo

abebyoy
jo juawubissy

 

 

 

sa}0N Apedoig jeuonIppy

 

 

 

00°006'4Z$} 40 ulessnujy ane|INpgy| UoleJods0_D sadiAiag jeloueul4 abysald abebyow
“ueByoiw
‘woqieag ‘Jawled ZE9or “9|00qd ‘y Piempy ‘puegsny pesessap
00 000'EE$! Jo UlassNuly anelinpqy yay pue jJasuay Jo JOAIAINS ‘ajOOd “7 jOJeD|/paeq AjueUeNM
pm ee SAL
uonesapisuog 4aAng! 4aj/aS yuauins0q

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1

 

€00Z/6Z/6

ueBiyoiw
-‘yoeq
‘isne4 0Sz9

 

e00z/st/y |eo0z/Stiy

eoozsz/y |zooze/t |

6661 /02/8  TA66L/SC/S_|

8661/8Z/b  {LEBL/LZIZ |

L661/S/9

LO6L/LZ/Z

 

Z661/S/9 —_: LOBL/L 2/2

aed: “ayed

ueBiysiyy
‘yWo9q
‘ysned OSZ9
uebiyoiw
‘yosjeq
_____¥sney 0G29)
ueBiyoiw)
‘yoeq
_‘ysney 0Sz9

uebiyoiyy
‘youaQg
‘\sney 0Sz9

ueBiyoiyy
‘yonaq
_ysne4 0SZ9|
ueBiysiyy
‘youaq
‘jsne4 0SZ9

SSOIPPV

 

Bulpsosay | uewiND0Gg

Apedoidg

 

uebiyoiw ‘Woujaq ‘sne4 0SZ9

 

 
 

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Case 2

 

‘wales Ss Aq pamo saxe}
JO} yuawAed se a01IO SJoinseaiy AjUNOD sUAeM au} Je Palade
Sem G/'Zp2$ JO WINS au} ‘EOOT ‘21 Aleniqay UO Jey] BRON

“wajes S$ S SEM
daXedxe) ayL "YSZ" LEZ TOW 0} JUeNsund ainsoj9ai0j Jo yuoubpnf|
e jo Anua seye sAep 1.2 ulyyim pawaapal jou ji sainseauy Ajunod
auAepA ou} JO BWeU By} Ul pay} UreLUa! pjnom Apadold pres yeu}
pue ‘saxe} jo juswAed-uou Jo} ao1O Syainsealy, AjuNOD aUAeAA
ay} 0} poyoji0y sem Apadoud siuj *Z00Z ‘| YQUeYY UO JEU] BONON

“saxe}] SEG pledun 40) ajqisuodsai
_ WAIES PIS a1ygos aye oO} payesoue SEM paaq WIe|D UND

 

Jajsuey ydwaxa xe}

sajon Apadoig jeuopippy

 

“uOHesJpISUOD
poob
JOUIO PU 0O'L$

00'008'Sz$

panisoay anjeA|

uonesspisuoD

 

 

 

“ueBIYysIW
‘yloyjeaq ‘UMe[asOY
LOGEL JO UELUOM

ajGuls e ‘uosuaA BULL

 

 

 

‘uebIysIy)

‘woqiesg ‘Iawied/e9r
jo uewom albus

e ‘wales ples aiyqos

‘ueBiyoW ‘wioqieaq
‘Jae LEP JO
‘ayIM IY Wger yalyang

(ay sty) wgar yalyans:

__pue jugar “y esnyw

saAng

__ ue jugar “y eSnN

 

 

 

 

I

 

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i

uondwepay uebBiysip ‘Wol30q
voce on | 40 SPOYGD! E007 P| EOO?/OL/P| “MalAUeEID SH/G
Ayadold jeay
“aoyjo| Jo aunyopoy ueBiysipy ‘10.39
_Sdaunseasl AUNOD auAeM) JO SEOYNISD|— ZOOT/SI/P|_ ZOOT/SL/7|_ ‘MAIAUBAID S¥/S|
‘uBBiys,) ‘Wwoqiesg
‘allsOy JGGP JO UBLUIOM peeq ueBiyoip ‘038q
ajBuls B ‘wales ples aluqos WIEID UND) COOT/SZ/E, COO? LNS/t| “Ma!AUaEID SysS
“ueB yaoi
‘s}yBiaH Wioqieag ‘aJowy!g
Zbp jo UELIOM palueWw pseq uebiyolp ‘10139qG
2 ‘MNYAIS USIIR Auer WEIN UND; 0007/8Z/9| OOOZSL/p| ‘MAaIAUaEID GH/S
“ueBlyoIW
| ‘wioqieaq ‘anuady aljesoy
LS6y JO ‘ayim sly ‘ugar pseg uebiyoiy ‘10.18q
Yalyqns pue jugar “yesnyy; = WIRID UND] = C6GL/LZ/OL| C661L/9/01 ‘MA|AUBBIO GPS)
“URBIYSIPY ‘SIIAYHON ‘9ALG
AalleA 'N QEEDP JO ‘aM i
Sly ‘JEPUBAA UY BIjed peed. uebBiyaiyy ‘10139q
|__ Bue fepuaM 1 PAOI4 WEIN UND) _OBEL/SZ/E) OBEL/ZZ/E_‘menuEs!O spcg
yoequog puey|
“OUM, ul }Sas9}U] i
Sly ‘JaPUSAA LU BILE, sJaseyoindg ueBiyoiw ‘}10.39G
__Pue Japuem “7 PAo|4) jowuewUBissy, OBELISZ/E| OBBL/ZZ/E| ‘MalAUBEIO G¥LG|
adAL ajeg ajeq ssoippy
1319S yuswns0qg Bulpsooay) yuewins0g Ayedoidg

 

 

 

 

ueBiyoi ‘}10439q ‘MalAUseld GpZG

 

 
 

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T

|
‘(wze)z86 UONIeS “O'S'/N Bt JapUN yuNoS|

BINYa}HOy JEUILUID @ JO_ yoafgns uy} SEM Ayedoid Jead ayy yeuy aonon |

 

 

‘waesss sem;
saXkedxe) ays “42° Z TOW 0} JUeNSNnd ainsojoaJoy Jo yusWBpni
2 jo Aue saye shep 1.z Ulu paluaepal jou J! Jaunseas} AjuNOD

BuARAA 9} JO BWeU ay} Ul Pai UleWal pinom Ayedoud pies weuy)
pue saxe} Ayadoid jo yuauAed-uou 10) ad1yO sJjaunseass Ajunog!
aude 0} payaso; sem Apiadoid ayy ‘eo0z ‘| YoJeyy UO jeu} BoNON!

 

suapued|

S17 0 BONON |

 

 

Ayadold |eay
jo ainywayo4

 

Jo ayeoyed

€002/2/0} |

|
| ; ueBiyoIW) ‘}1038q

€00Z/6Z/6| ‘MAIAUAAID Sp/S

en re

 

 

| ueBlysiy ‘o018q

|
|
|
| COOZ/SL/p| ‘MalAUEaJO SPS

 

 

ueBIYoIN ‘110438q ‘MalAUaaI9D GPZS

 

 
 

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Case 2

 

‘(v\(z)(e)Z86 YORI °9'S'N gL JapuN yuNoD
BIMJOHO} [BUILD e Jo Joalgns ayy sem Apedoid ayy Jey) SHON

‘wajes qos Aq pamo saxe}
Jo} yuawAed se ayo Szainseall AJUNOD auAejA 94} Je PaAlaoal
SEM 7G'GGG'/$ JO NS BU} ‘ZONZ ‘OE 42G0}90 UO JY) BIHON |

“wales alyqos sem seAedxe} SUL “ABZ LEZ

TOW 0} JUeNsind ainsojsaJ0} Jo yusWHpnf e yo Aqua Jaye

skep LZ Ulu peWaapal jou jf Jaunsealy AJUNOD auAepAA BUY
jo sweu ayy UI pay UleWwas pijnom Apadoud pies yeu} pue ‘sexe}
Ayiadoid yo yuauAed-uou Jo} ado syainseasy AJUNOD aUAeAA
0} payayioy sem Apedoid ayy “E007 ‘| Ye UO Jey} SHON

 

‘wales alyqos sem saAedxe} ays “H8Z° 142

OW 0} JUeNsInd aunsojoaJ0} Jo yuawWBpni e yo Anua Jaye

sAep |Z UlUJIM PAWBEpad jou f! Jaunsealy AyuNOD auAepA ay}
JO aWeU Ooty Ul pay} UleWUds pjnom Apadoud pres yeu} pue ‘sexe}
Ayadod jo yuauuAed-uou JO} ayo sainseasy AJUNOD auAepy
BU} 0} payapo} sem Apadoud ayy ‘ZO0T “| YOIe) UO JEU} BIIION

 

‘ulassnuly aHe|inpgy Aq pamo ajaM yey) 00 0F0'L1$
Buyje}o} Saxe} SWOSU! predun Jo} Ayadoid uo paseyd ual]

Saxe}
piedun Q¢0'21$

 

Jaysuel) Jduwaxs xe]

 

00°'$

00'000‘sSz$

iW ‘wioqiesg
‘ayesoy LS6P

jo wales pies alygos),

‘uebiyoiy)
‘WOqesg ‘JaWied JE9r
jo ulassnuly anejinpay

 

 

 

 

 

Saj}0N Apadosg jeuoHIppy

 

uoljesapisuoy

 

sakng

 

 

 

 

 

 

 

 

 

 

ueBiysiyy

suapuad ‘wed YjooUl]

SI] JO SDHON/EOOS/L/OL — [EOOZ/6T/E “BHOPIA GOL

ueBiysiw

uoydwapey ‘yleg UjOOUrT

|: go PDYNED|EoOe/Ol/y |€007T/91/S =| “BHONDIA ZSOL|

Ayadosg jeay ueBiuoiy

BOO SJaunseasy! jo aunylapio4 ‘yueg UjooUIT

_____ Muneg eudemy so ayeoyed| — e00e/St/e | PHOWIA ZSOL
Ayadosg jeoy

BdINO SJjeunseaiy| jo aunyapo4 uebiysiy ‘10438Q

|. __. Munoa aukem) 40 aeoyweD|ZO0Z/SL/P _|ZOOZ/SL/P_ "BHOWIA ZGOL

ueBiyoiw)

ual] xe ‘weg ujoour]

__,., MEBIUDIN 40 812}S) B1E1S JO PUON BEGL/OE/E |BEGL/ZL/E "BHOWIA LOL
‘ueBIusIW

‘syyBlaH woqesq '6EZ ueBiyoIW

x0g ‘Od jo ajew ajbuls psaq ‘weg UjOoUrT

_B ‘wassnuly aneINpgy, ——_ WIRID IND 666L/Zb/6 | Z66L/SZ/S "EUOPIA 2SOL|

@}IM pue pueqsny ueBlyoiw

‘yassny g el6ioey pue ‘yueg UlODULT

HESSNY "WM BOPoaU|| jOeNUOD pUeTBEGL/O/E _—_—LBGL/GZ/bb | PHOIDIA ZSOL

adAL ajyed a}eq ssaippy

43a]/9S quawinseg; Bulpiosay juauinseq Ayadoig

 

ueBiyoiW 42d UlOOUTT ‘B1J0}91A ZSOL

 

 
 

 

 

T
i
t

 

 

 

 

 

 

 

 

 

‘(w\(eXe)z96
UOHIaS °D'S'N 8} 4EPUN yUNOD aINPapO) jeUILUD; | suapuad ueBiystyy ‘108g
2 Jo yoalqns ayy sem Apadoid jeai ayy yeu) BION | SI J0. S9NON| 020/01) €002/62/6 ‘uBIsaLy O€S9
|
“ueBIyoIyy ueBIyoIW
| ‘wioqieaq ‘aljesoy 266r/‘s}ybieH woqueaq ‘6E/ XOg ‘O'd JO paeq UeBIyoIyy 110439G
saysuen jduiaxa xe1, OOS, JO Wales ples alyqos, afew ajGuls e ‘ulessnyly enelinpqy| = weIN ND) 6661/0z/8| ss LBBL/SZ/S| _‘UeISeLV OES9
\ “ueBIYyoI) “ueBIyoIW
‘wioqieaq ‘awed JE9P ‘uaueaa ‘18Jd901 OZSGZ JO OyIM ueBiystyy ‘1039
00°00S'21$| 40 ulassnuly syelinpay sly ‘6u07 e1oujeY pue Bucy uopiop) JOeRUOD pue]) 9661/62/01 9661/12/0l|  ‘UeISaHW O£S9
adAL ajeg
SO}ON Ayiedosg jeuoiIppy) UoHelapIsuOD seAng 4329S yuawinsog! Burpsosay} = ajyeq jueuins0q /ssaippy Apiadosg

 

 

 

 

 

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ueBiyoiw ‘310.39 ‘uelsoyY OES9

 

 

 
 

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Case 2

 

“yooD Aujolog pue yoo9 Ayjowl, 813M psooai JO

siahedxe} SUL “ABZL4Z TOW 0} }UeNSINd ainsojoaI0j Jo yuaWHpn{
2 jo Aqua jaye skep 1.z ulyyim poweapai jou 4! Jasnseauy AyUNOD
auken, 34} JO SWeU au} UI pay UleWwes pinom Apedoid pies yeu) pue
saxey Auadoid jo yuawAed-uou JO} 3010 SJainseai] Ajuno9 auken,
AY} 0} payeyioj sem Ayodosd ayy ‘L00Z ‘| YOJeW UO JeU} BION

sJainseaiy Ajunog aude,

 

“snjeys ayesun sj! 0} onp Apadoid ayy Jo UOI|OWap
_ pasodoid au; Bulpse6as s6ulpaascoud jo pusWUaOUSLULUCS JO 99H0N

ueBiyoiy JO 9}21S

ay} 0) Apadosd au) Ul ay] USIIGe}Se PUB LUIYUOS 0} UOHeIWNOU SeAA!

 

“ueBiyoip] JO a}e}S$ ay} 0} ALadosd 3y}
Ul SOs9jU! []@ PAWUIE|S JINb BOO Sjeunseal| aye} Au) JEU) dI}ON

 

JaJSUBI) }dWXd xe,

00°1$

 

Saj30n Apadoig jeuoHIppy

 

 

00'000'r$

‘ueBiyoiy JO a2}¢|

“ueBiyoI; ‘woqiesq

2ZE9p yo UeWOM aj6uls
2 ‘Wales pleg a1yqos ‘gar Yyalyans pue jugar esny

‘anuany Jawjed

 

“Oy siy ‘ugar Yyalyqng

pue juger esnw

 

___...._ BOWO JOINSBSAL SIEIS
“ueBiyoiyy ‘uoqueag ‘anueay
aYesOY /S6p Jo ‘ay siy

OYOIUeEWG OUSY ‘puegsNy,
paseasep Jay pue j}asiay:
jO JOAIAINS ‘oynoluews ua|aH

 

 

 

 

 

uoljesapisuoy

 

 

4aAng

 

 

 

 

ueBiyoiy]

Ayedolg jeoy ‘038g

BIO} JO aunepyo4 ‘QUO}SYIE|G
|_ JO MOURNED! LOOZ/9L/7| bOOZ/9L/h Log
‘yo.49q

‘QuO}SyORIG

SUBPUSd SI]; G6G6L/LZ/6; S66L/SZ/L Log¢l

: a ee TU BHT
WAepIY ‘pWoeq

Buea} /A0}ON ‘Quo}SyoeIg
J0j00ld| 8661/8l/9|  S66id/S) LOB

uebiyoiyy

pseq ‘0.92q

Jainseal] I ‘auojsyoeig

IS; _, BIPIS| = 96GL/OL/S| §=S66I/c/S| «LOB HL
ueBbiysiW

‘yon9q

peag ‘Quo}SyOe|G

esi — uleID ND! = ZEGL/Z/OL| Z66L/9/01 L08rh
ueBiysiy

104390

: ‘quoysyoelg

paaq Ajueuvem) 1661/0E/el| L6GL/E/CL) Log¢l

adAL ayeq ajeg ssaippy

42||8S quawinso0g| Bulpsosay! yuauins0g Ayadoig

 

ueBiydiw ‘j10139q ‘au0}sy9e1g LOSE

 

 
 

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TISTIT]
‘09
“(Cw ze)Z86 UONIaS “O°S'N BL 0} JUeNSINd suapuad ‘auojsyoelg
hUNGD aiNYPaHO) jEUILULD e jo Jalqns sy) sem AYadold ayy JEU} SION SIT JO BHON| €00Z/Z/OL| E00Z/6Z/6 Logrl

*yOOD UaseYy pue yoo> Ayjowwl) a1am piooe :

jo suefedxe) SUL ASL LLZ TOW 0} JUeNsSind ainsojdaJ0} Jo yusWHpnf

8 jo Ajua aye sAep 12 uly pawisapal jou JI Jainseasy AjuNOD ueBbiysipy
auAeM 9U} JO BWeU Ou} Ul Pay UIELUaL pinom Ayadoud pies yeu) pue Apadosy |eoy ‘ ' lonag
saxe} Apadoid jo yuswiAed uou 10} aoIyO SJiainseasy AjuNOD audeA, aaAYO; JO auNpepoy ‘auoysyoeiq
_ 8Y) 0} PayaHo} sem | Ayadoud | (28d 8Yy ‘ZOO? “| YEW UO Je) SDNON oe | __ Sdaunseasy Ayunog aude; JO aYeOYIED| = ZOOT/S I/F} ZOOZ/SL/P L0grl
adAL ajeg a3eq ssaippy
sajon Apiodoig |euoiippy, uojesapisuo5 aaAng Ja1}9S yuauinsog| Bulpiosey! jyusuins0g Ayedoidg

 

 

 

 

 

 

 

 

 

ueBiysiw ‘j10138q ‘euo}syoe/g LOSHL

 

 
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Case 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

‘(v)(z)(2)Za6 UONDaS “O'S'N BIL}
qUeNsiNd JuNOD auNyapo} jeu e yoolqns i suapuad uebiyoiy ‘10.39q
ay} sem Ayoedoid jeas ayy Jey) SOON ee Q | SITJOS9SNON; =EOOC/Z/OL! _ €00Z/62/6; — “MAlAUIeId 6089}
“UOHIPUOD fo
ayesun yt 0} anp Ayedoid ayy yo uo
pesodod oy) BulpseGas sbuipaavooid uebiysiy ‘09q
___ JO JUSUSDUSLIWOS OU} JO UONROYNON oe tL HONAGIO AIO) suapuad SIT e007 1/2, ss COOS/LE/OL| ==“ MAIAUIRId 6089
“ueBIYSI)
‘woqueag ‘jawed /€9P JO ulassnuly
anelinpqy Aq pamo yuauiAed xe} @WODUI! jo ual] xe ueBiysip ‘10.48q
yuowAed ainoas 0} Udl| XB} 9}2}S JO AD}ON ueBIYSIW JO BJ2}S| GEIS JO BOHON| SBBL/OE/E S6G6L/ZI/E *‘MAlAUIeld 6089
“uebiyoiyy
IW ‘woqeag} ‘s}yBlaH Woqesg ‘6e/
‘ayesoy 2G6p|XOg ‘O'd 30 ae ajbuls peed uebiusipl 102389
Jajsuen jduiexa x21; = OO FG] «JO wales ples alygos) e ‘ulessnuty aneynpay wield yno| 6661/02/8| — L661/SZ/G| __‘MalAUIeId 6089
“ueBlyoI)
‘syyBiaH Woqeag ‘6EZ
“UlaSSNH [¥ aHEINPGY O} VEO OOS'ZLS X0g ‘O'd Jo ajew ajGuls uebiysiw uebBiyoiw ‘310.389
2 payuei6 uebiysiy jo syueg uojBuquny 00°00S'21$! @ ‘ulassnH fy egelinpqy| — jo syueg uoyBunun} abebyow! ZL66L/b 1/2) ZO6L/8Z/1| ‘MAIAUIEId 6089
“ueBiyoiyy |
‘syyBlay Woquesq ‘6EZ
; XOg ‘O'd jo gjew ajBuis DISMOIM “PY | ueBiyoiy 10.39Q
epee 00'000'2z$;_e ‘wessnuty anelinpqy| WHY - ISMoMIM esoy paaq AjueueM!  L66L/9/€ A6GL/2Z/L| _ “MAIAUIEld 6089}
oO po adAL aed |
sajon Apiodosg jeuoiippy| uoneiapisuoD saAng JB}aS juawins0q| Bulpiosay! 9jeq JuaWIND0g | ssaippy Ayadoid

 

ueBlyoiw ‘310130q ‘MalAUIeld 6089

 

 
 

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Ul }SOJE}U! S$} PeUaysuey “OU! ‘AUedWOD abeByoy) suo} [enuEpMd SYL

JUNOD aIN9}HO} [BUILD @ JO yooiqns au) sem Apadoid jeas ayy yeu BONnON,

 

‘eae jo Aueduio5 soueinsu] jenuapnig pue ‘aim sly ‘jugar Yyalyqns
pue jugar esn;, usemjaq pue Aq paynoexa sem yeu} abebpow jeuibuo0 au}

 

 

jo Auedwos eoueunsu jeqnuapnig au} pue ‘ajim Siy ‘Huger Yalyqns

pue jugar "y esny usemjeg pue Aq paynoexa sem jeu; juaWaaJbe
aGeGYouw Sy} Ul }SAJBJUI S$}! POUAJSUB ‘PaAlgdas aNjeA OJ BBUeYOXS UI
‘uonesodioD Aasier MON 2 ‘OU ‘Auedwiog abebyow SwWOH jejuapMd Syl

SU} Ul JSAJAJUI S$] Paassuey ‘paalaoe anjea 40} eaBueYOXs Ul ‘UOHesOdJOD

2 se Joyues6 uy Aq pouinboe sem jeu} ,}SeJ9jUl, 0} Sayeieu 1 se UeBIUIPY!
‘woqueag ‘anuaAy JaWIed JE9p JO WajeS ples alygos 0} }seJ9juU!
S}! pauaysuey ‘ueBrusiw ‘Buisue7 jseq ‘086 XOg ‘O'd JO Du ‘Bulpunyinb

 

0} ueO| 000'0r$ & pajues6 eoveuiy yo Auedeg soueinsy|

‘(w(zB)286 YOHdES ‘D'S'N BL s8puN! | IW ‘Woqieag
SOMON, _ _ | SUEPUSd_ SI] JO SONON E007/Z/0L e£o00c/2/0l | E00/6C/6 ‘JOWIed LE9P
‘ou ‘aBeBYOy JSANUON oO}:
Ppaalada, anjea ‘out Auedwod abebyoy IW ‘woqueeg
Joy aBueyoxe uj abebyoyy awoy jenuapnid| jo juatuuBbissy|/661/2Z/- 9661/91/G | ‘seWIed JE9p
‘uoyesodioy abebyoyy ue07] ewoH jeeps ay} 0} ‘equewy “siour, ‘oBea1yD
“600L€ aqNg ‘eau
JOYE AA JSAM ECE JO uolerodioy Aasuer jsnij, paeq
paaigoas anjea| =uayesodiog abebyoy MON e “OU AuedwoD / eBebyoy IW ‘uJoqueag
Joy aBueyoxa uy ukO] eWOH [eiepa4 abebyoy ewioH jeyUuapNid| jo juawuBissy 6861/91/S |6861/L 4/1 ‘jawed JE9P
out Auedwioy ebeGyoy-; awoy jenuspnid
@y} OF ‘apm Sy ‘ugar Yaiyqns pue jugar "y esny WIM sbebyow “uonesodiog Aasiat MON
peaisoas anjea: ‘oul Auedwoy abebyoy 2 ‘eouewy jo Auedwoy abebyo;w IW ‘woqieaq
Aasiat MAN 2 ‘eqUaLUy Jo Auedwog souesnsuy jeuepng eYyL| Joy eBueYyoxe UI SWOH [ejuapNid| sdueINsU; |eNUAPNidg ay{| Jo juawuBissy 6861L/91/S (G686L/LL/L | ‘Jawied Leor
"SO8XB} C66) JO} peep xe} e jo }INSOI!
uebiysiyy
‘Buisue7 ysey ‘0g6 xog peeq IW ‘woqieaq
| Duipunyindzp —E  0'd $0 Duy ‘Burpunyinba| ——WIE|D. IND 'BE6L/OL/6 | BEBL/G/Z | ‘sawed LE97
“-ueBiyoIy * woqiesq “ueBIUSIW
‘anuaay Jowled! ‘Wwoqieag ‘anusAy a1e2soy
ZE9p JO UeWOM ajBuls LGGFP 40 ‘OyIM Sty ‘ugar peeq IW ‘woqeag
__ Jajsuen dwexa xe{/ — pasojosipun! e ‘wales ples alugos yalygns pue Iuder ‘yeSN) —_WHEID. IND |ZESL/L/OL _|Z66H/9/0}_| “sewed Legy
| -Aasio¢ MON
| SUEMON '99N1S peolg SPs
ayIM siy ‘der yaluqns pue jugar ~y esny “SHIM SIy ‘JUgar Yyalyqns: jo ‘equawiy jo Auedwod | IW ‘usoquesg
S9UeINSU| 00'000'0rs __ pue ugar “y esnwW, = so0ueINsu| [euepMid SUL! abeByow 986 HOE/LL |S8EL/LZ/LL | ‘Jowied ZE9F,
: ueBiuaiy ‘woqiesq !
‘ayjesoy 6067 JO; UeBIYoIW ‘1eMoH ‘Aydog
| ayIM Sly ‘ugar Yyalyqng) GOBZ JO ‘syIM SIY ‘SHEA “We | IW ‘Wwoqeseq
oe _00'000'%rS pue ger ‘v esnw! eluibil, pue syeaa ‘O WYO peed AUCLIEM E86 L/Z/ZL ER6L/SZ/Lb | ‘sawed LE9P
add 1 ayeg ajyeg ssaippy
sajon Apadoig jeuonippy) uoHjeiapisuoy saAng 4919S) juowins0q| Buipsosay, juauins0g Ayedoig

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

uebiyoip ‘usoqieag ‘sawed JE9b

 

 
 

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|

“wales S S sem oweu JaAedxe]

YSLLLZ IOW 0} JUeNsind sinsojDeJ0} jo yUaWBpnf e jo Aqua
Jaye sAep 1.Z ulujIM patuaapai jou j! Jainseasy AUNOD auAepAA

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

ay} JO BWEU SU} UI P|} UleELWas Pjnom Ausdoud ples yeu; pue Saxe} Apadoig jeay uebiyoiyy
Ayadoud jo yuauAed-uou 10} ao1yjO siainseai, AjUNOD ouAeA, JO aunyeapo4 ‘yo.49q
BU} O} Paylejioj Sem Ayedosd au 'Z00Z/1.0/E0 uO WU UOREDON| Jaunseas) AuNOD ) BUARM| _ JO EMNSD|Z00SI/b —|ZOOT/S/y | "ISNE4 GZL9|
‘00°0r0'L1$ Huyejyo; yuswssasse predun jo yuawAed e andas ueBlysiy
O}.SeM SiuL “UeBIYSIW ‘WOoqieeg ‘ioWIed JE9p JO UIaSsNnuiy uar] xey Jionag
aHelINPgy 0} pesseippe Ud] xe} UeBIYOIWY JO 2}2}S JO BDNON 00 O0'Z1$ oo _ ueBiyoiw JO FEIS| FIEIS JO BDNON | ZOOT/GL/ | BEGL/ZL/E ‘ysney 6Z19|
“ueBi yin
‘sjyBleH wioqeeq GEL ueBiyoIW
xog 'O'd jo gjew aj6uis paeq ‘yloaq
- __ _____aaysues yduuaxa xe 1 00°1$ wales ples aiyqos, 2 ‘ulessnuiy sHe|inpqy WIRID UNO 666 L/07/8 |2661/S7/S | ‘sNe4+GZLO
‘uoHeIDossy [2UuoeN|
yueg }SJl4 0} Ulassnuly ayelinpgy pue uebiysiw jo uoesodsog) uebBiysin
HipassinbW usemjaq pue Aq paynoexe sem yeu} aBebyow eoawy’ abebyow ‘yo0q
BU} Ul JSAJa}UI S$} Paaysuesy Cay JO UOHeIOdIOD WpassINby :Q0'OLS Jo uoyes0di0D upesoinba, jo yuawuBbissy) 2661/02/b1 2661/82/P 4ysney 6z19
"eouewy | ueBiysiw
JO uoNeI0dI05D ypasoinby o} ulassnyfy ayelinpgy UW aBebyiow eouauy jo: ueBiuoyy! abebLow ‘0438
_ BY} Ul ySOJBIU! S$}! Poeysued UeGLYSHW JO UOeJOdIOD WpassInb3 00'0L$ ‘YOHRJOdIOD jIpasoinby’ jo uoljeiodio5 upeuoinb3) jo juawubissyi 2661/02/11 |2661/82/P ‘ysne4y 6Z49
“uebiyoiW | |
‘yoyaq ‘sne4 ueBiyoiw
‘aye ajBurs e ‘ulassnuly aHelinpqy 6Z19 Jo uew aj6uis uebiyusip! ‘}oEeg
0} ueO} 000'0r$ B pajuei6 ueBiyoiyy jo uoNes0dI045 }!pas9INb3 00 00S ‘org 2 ‘uiassnuly aHelinpqy! jo uojesodioy uparoinb3| abebyow /661/12/c |Z66L/E/Z ‘ysne4 6Z19
— OE “"“‘twoqieeg uewjeg) ss PUNY ‘A@YOIR r es ueBiysiw
LZE9p JO aJew ajBuis| pO MaN jo uew aiGurs, ‘yonag
oo oe ee _'00°000'Sr$ 2 ‘uassnuly ayeyinpqy 2 ‘suosued ‘d jalueq paeq Aueuen Z66H/EWE |466L/E/% =| ‘sne4 6719
adAL ajeq| ajeq ssaippy
sajon Apiadosg jeuonippy;) uojesapisuoy 4aAng J2119S) yuawino0g! Bulpsooay; = juswns0g Ayadoig

 

ueBiysiw ‘10138q ysne4 GZL9

 

 
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“(v)(z)(2)Ze6 UOHIaS “D°S'N BL 0} JUeNsSiNd juNOD

BINPSLPO} jeu e Jo Joalqns au) sem Apadod auy yeu} BOON

“wales S s Aq pamo aiam yeuy!
sexe} psemo} juawAed se 9S°//0'L$ JO WINS aU) PaAlaoal SO1IYO

Sdaunseast Aunog audem au) ‘EO0Z/EL/Z UO JU) UONEOYNON |

"wales § Ss sem aweu
yaAedxel “82 LEZ TOW 0} JUeNsind ainsojoal0) Jo ;UsWBpN e jo
Aqua aye shep 1Z ulUyIM PlUdapa: you J) JauNseary AjUNOs aUAeAA
@y} JO SwWeU au} UI Pa} Ueda pjnom Apadoid pies yey} pue saxe}
Ayiadoid jo yuowAed-uou Joy adIYO Saunseasy AJuNOD auAepA

OU} O} payapoy sem Aprodoid ayy ‘E00Z/LO/E0 UO Jey; UONBOYHON

 

 

 

 

 

Jaunseasy AWUNOD auAepny

 

 

 

 

 

 

uebiysiyy

suapuad ‘109

—__ | __ SISO POHON|E00Z/Z/OL =, €007/6 2/6 ‘ysney 6219
ueBlyoiyy

uondwapay ‘yoeq

JO SJESIHOD/COOT/IL/P —|EOOZ/OL/P ‘ysney4 6219

Ayadoig jeay ueBiysiw

jo aunyepod ‘W019

JO DJCMIVBD/EOOZ/SL/P — [EOO?/SL/P ‘ysneJ 6219

 

ueBlysiw ‘Woiujeq ‘ysney 6719

 

 
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' UOISIAIG peed: ueBiyoiw

‘asodind o1qnd 10} ‘uonesodsoo; a}e}Sy |eoy - s9ounosay jeinjen asn aqnd ‘}1039q

_...__ledoqun 2 “ywoRag Jo AND 0} pauiajsues Ayedosd 00'0ZS'S$ Jo juaupedag - UeBIYDIV Jo BENS) WIEID. UNO OOOZ/SL/Zt |OO0/E/y __‘wNany Zi LeL

uebiyoiw

‘Apadoid ay) 0} sapjoy ayy sem ueBIYyoIyy Buueay / ‘jioeaq

__ JO AES 94} JEU) YsI|ge}sa pue WUUOS O} UONEYNON Ee BOON JO JOO! GEG L/ZZ/LL |666L/E7/OL | ‘uingny Zi LPL

“‘ueBluoiy ‘uwoqieaq

‘anuany ‘Jew|ed uebiyoipy ‘woqiesq ueBiysiW

‘ LEQp JO UELOM ajuls ‘aAY allesOY ZGG6P JO ‘ayIM SIY pseq ‘youyeq

- oo ____ saysuesyydwexe xeL|oo lg | ‘wales ples alygos:) ‘gar yalugns pue figer ‘vesnW| = WIRID UNO Z661/Z/01_ [7661 /9/OL [uNgny ZL Pb]
ueBiyoi ‘woqesq uebSiysiw

‘JOUR LEQ JO ‘ploywoolg san ‘adoyue}s ueBryoiw

Sym SIY ‘Huger Yeygns | GOSS JO ‘ayIM siy ‘UdJI0YD ‘yoeq

oo oe __.. 00'00s'es | PUB INGER "vesn, "| asIUBC pUE UO!D04D “7 Auen|peEd AUEVEM|LE6L/L/9 _|L66L/OE/S_| ‘Unany ZL LPL

adkL ayeq: ajeq ssosppy

Sajon Apadozg jeuonIppy; UOesapisu0oD saAng J9t|9S yusuin20g! Bulpioseay! yuauns0q Ayadoid

 

 

 

 

 

 

 

 

 

uebiyoiw ‘0.38q ‘uingny ZLLPL

 

 
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‘asodind o1qnd Joy ‘uojesodioo jedio1unwi
_B ‘youjaq jo MID 0} Aedod suaysues ueBiyoi; Jo aes

 

au} 0} Apadoid SY} JO Bf!} SJBJSULN BIO S,JaINSeal |

 

 

 

“Ayadod auj 0} Japjoy ayy sem uebiyoiy
JO SIE}S SU} JEU} YSIGe}SS PUe WIJUOD 0} UONEOYNON

2O6LIBLILL

S66L/Z/S

S66I/L/S ©

 

 

 

 

 

 

 

 

 

 

C6G6L/9/OL

LO6L/L/E

ajeg|
juawins0q

 

 

peeq
3S SHGNd
oO zEO'L$ H10439q Jo AID ueBiysIW JO aJejS/ WHI IND |666L/67/1
peed
“ueBIyoI|W JO 9}23S ueBiyory Jo Jounseaay sounseaiL
_ BRIS ‘syeqoy '@ sei6noq) IRIS 966L/OL/S
pAepINY
Buueay /
ue BIYDIA JO a21S) SOHON JO JOOld BEEL/8/9
‘ueBlusIpw ‘woqieaq :
‘anusay Jewled) ‘“ueBIYoIW ‘uoqieag ‘anueay
LEQ9y JO UeLWOM ajBUIS) aIesOY ZG6r JO ‘ayIM SIy ‘ugar pseq
"JOJSUE} JALUSXA XB] |O0' L$ 8 ‘wales ples alyqos YOLIGNs Pure |gar “Vv Bsn WIEID UND 766 1/2/01
ueBlysip ‘wsoqeag) uebiyoiy ‘playyinog ‘OLL ans
‘awed LE9r JO ‘AUG BOUBPIADId LOBGL JO
“BUM SIY “INQaL YOLIGNS) ‘YM SIY 'Ya|POOD e|Lyed pue) :
00°000'9$ _ pue ger "y esnY| ‘UW palueW e 'Ha|POOD "G'T PeeG AUELEM LE6L/Z1/6 _|
adAL ajeq
sajon Apiadosg jeuonippy| uoljesapisuog sohng) Ja1]2S jyusuinoog + Bulpsojay

IW ‘Youj}9q
‘arepuuly
bE2bE

IW ‘H0138q
‘afepuu|a
LEZEL

IW ‘WOu9q
‘ayepwla
bLZbL

 

IW ‘10.,2q
‘ajepulg
BEZEL

IW ‘0.9.20
‘ajeputig

Aysdolg

 

uebiyoiw ‘ojeq ‘ayepwja LLZLL

 

 
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“wales alyqos

sem JoAed xe] aUL “I9Z° LL Z TOW 0} JUeNsSund aunsojoai04
Jo yuowBpni e jo Aujua jaye sAep 4z uluyIM Paluaapal jou

ji Jaunseary Ano auAejy Bu) JO BWeU By} UI pany UleWwa
pinom Apadoid pies yey} pue sexe} Ayadoid jo juawAed
-UOU JO} BIIYO SJainseas} UueBIYyoIy ‘AjuNOD auAeAA BU} 0}
payapoy sem Ayadoud ay) “€00Z/10/E0 UO yey) UOHEIYRON

 

“ueWOM ajBuls

e ‘wales pleg aiyqos 0} ‘ajim siy “Wqer Yyalyqng pue
jugar esnyy pue ‘ayim siy ‘Awezey eoujeg pue Awezey
piorey uaamjaq pue Aq paynsaxea sem yey) JOBIJUOD

pue] UleYad e Ul }S819}UI WAU} Paeysues) ‘PaAiaoas anjea
10, aBueyoxa ul ‘ayim SIy ‘ugar Yaluqns pue juqar ‘y esny

 

“‘paniaoas anjen|
Jo} aBueyoxy |

uebiyaiy ‘usoqiesq
‘anuaay Jailed
LE9b JO UEWOM a|Guls

2 ‘wales ples aiyqos

 

00°000‘0S$

‘uebiyoiyy ‘wsoqueaq
‘JaUed LEY jo

“ayn sty ‘qar yaryBng
pue juqar -y esnw

aylM siy ‘ugar yalyqns
pue jligar ‘y Bsn
ueBiysiw

“usoqieaq “xIq POE! JO
‘ayim siy ‘Awezey eIjed
pue Awezey plosey

 

 

sajon Apadoig jeuolippy!

|
|
|

uonesspisuoy

 

aaAng

AdjaS

 

Apadolg jeay
JO ainytepoy

uebiyoyy ‘woqiesq

*XIG 90€OL Pue SOEOL

ye $}]O] JUBDeA BsOUy

 

 

 

 

_ sO MEOUED _E0OZ/SL/y| E00Z/SI/y _ Suipnioul xd vOEOL
yoeQUOD pue] uebiyoyy ‘woqieeq
ul }SaJa}U| *XIG 90E01 Pue SOEOL
suaseyoind ye $}O] JUBDeA BsOU]
| JOjuawUBIssy/  Z66L/Z/01| Z661/9/01/ _ Sulpnjoul xId bOEO!
uebiyoiyy ‘usoqueaq
*xIG 90E01 Pue SOEOL
yoesUu0D ye S}O| JUBDRA asOu}
puey Jo WO4) BB6L/62/L1| BBEL/8z/11, —_ Burpnjaul x1 yoo

, adAL aeq ajeg
quawins0qg, Bulpsosay! yuaun[0g ssoippy Ayedoid

 

 

ueBiyoiw ‘usoqieag ‘XIG 90E0L PUB SOEDL Ie S}O7 yURDeA Bulpnyjouy ‘xIG HOO!

 

 
 

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“uebBlyoiyy
JO 93215 ay 0} Aadoud siyy ul ysasajU! diyssauMo |e
pauiaysuey ‘soinseel UBBIYIy JO B]e1S ‘ACLIN “YW EW

 

ueBiyolp jo ayes

 

‘Apadosd au} jo uonjoweap pasodod au) Buipuebau
sBuipeadoid Jo jUBWAaDUAWULUOD BY} JO UONEIYHON

 

 

“JOJSUBI] duaxe xe]

‘yORNUOD PUR] pauoHUaWalOje

BY) JO SUA} BU] JO JUaLUIYINY AJOJOeysHes sey) UodN
paseq ‘ger ylaygng pue jugar “y esny 0} Auadoid ayy
ul }S9J9}UI J8Yy pajyuedem pue paksauod yaunzs “W epury

 

 

s9}0N Apadoig jeuotyippy

 

00's

00'000'S$

uoljesapisuoy

“ueBlyoIyy ‘woqeeq
‘anuaay JalU|ed

LE9p JO UBLWOM abuIs
2 ‘wales ples alugos

ay pue

puegsny ‘ugar yeayqngs
pue jwqaer “y esnw

ay|M pue

puegsny ‘gar yrayqng
pue jugar “y esny

 

 

 

 

saAing

 

 

 

 

 

 

 

| peaq ueBlyoiw
Jaunsealy ueBiyoiy jo Jaunseal | ‘onaqQ
ayes “ACUNY WHEW! SIS |6661/9Z/P — |BEGL/S/S ‘JaUEG LSESL
uebiyoin)
‘039g
| suapued SIT 6661/2/e B66L/8L/Z | “Henued LSest|
“ueBIYoI)
‘woqueaq ‘enuaAy
ayesoy LG6P JO uebiyoIW)
“ayIM Sly ‘Uger Yyalyqng peaq ‘yo0q
_pue gear wesnW) — WIRID UND €66L/9e/y 66 L/SZ/L | “senveE LSEst
ueBiyoiyy
‘SIH UoyBuluwwey ueBlysiWw
‘UOIPIEM GO9S1Z ‘yoyeq
|__ JO 4INZS ‘W epury peag AjueveM/E66L/92/y €66L/ZL/L | “FenUEG }SEST
uebBiyoyw |
‘SNH Uo}Bulwue4 uebiyoiw
“UOIDIEM S9OSLZ| joe
jo 49JNZS ‘W epuly! YRIUOD PUCTLEEL/SL/S |LE6L/ZL/8 ‘sanueg 1SESt
adAy ajyeq ajeg ssoippy
J3I[9S yuauinsog) Bulpiojay yuswins0g Ayedoig

 

IN ‘Jlosjaq “19]}U8q LGESL

 

 
